  Case 14-13436-CMG   Doc 42UNITED STATES
                               Filed      BANKRUPTCY
                                      05/06/14
                            DISTRICT OF NEW JERSEY
                                                      COURT05/09/14 14:27:00
                                                   Entered                                         Desc Main
                              Document        Page 1 of 2
                             Caption in Compliance with D.N.J. LBR 9004-2(c)

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                                                                                                      5/6/2014
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                             Attorney for the Debtors Morrison


                             In Re:                                                   Case No.: 14-13436-CMG

                                Gary Morrison and                                     Adv. No.: N/a
                                Michele Morrison
                                                                                      Hearing Date: May 7, 2014

                                                                                      Judge: Gravelle

                                             ORDER TO CONVERT FROM CHAPTER 7 TO CHAPTER 13
                                                 AND FOR DISGOREMENT OF ATTORNEYS FEES

                                      The relief set forth on the following pages, numbered two (2) is hereby ORDERED.




DATED: 5/6/2014
Case 14-13436-CMG   Doc 42      Order05/06/14
                              Filed    Converting from Chapter 7 05/09/14
                                                     Entered     to 13 and for Disgorgement
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                                GaryMorrison and Michele Morrison 14-13436-CMG


                                 This matter was presented to the Court, and upon motion of the Debtor’s, Gary

                                 Morrison and Michele Morrison Motion to Convert the Debtors case from Chapter 7

                                 to Chapter 13, as well as seeking disgorgement of Attorneys fees and for good

                                 cause appearing, it is hereby:


                                 ORDERED that the Debtor's Motion to Convert the Debtors case from Chapter 7
                                 to Chapter 13 is granted, and



                                 IT IS FURTHER ORDERED, that Scott Wilhelm and his firm shall disgorge all
                                 Attorneys fees received from the Debtors in the amount of $ 1,294.00 within 10
                                 days hereof.




                                                           Approved by Judge Christine M. Gravelle May 06, 2014
